Case 5:21-cv-00056-LGW-BWC Document 136-111 Filed 12/19/23 Page 1 of 7




                            Declaration of
                        Elizabeth McNamara
                              Exhibit 109
  Case 5:21-cv-00056-LGW-BWC Document 136-111 Filed 12/19/23 Page 2 of 7




                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                    WAYCROSS DIVISION


DR. MAHENDRA AMIN, M.D.,

                   Plaintiff,                            Case No. 5:21-cv-00056-LGW-BWC

       v.

NBCUNIVERSAL MEDIA, LLC,

                   Defendant.



                  DEFENDANT’S FIRST SET OF INTERROGATORIES

       Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendant NBCUniversal

Media, LLC (“NBCU”) hereby requests that Plaintiff Dr. Mahendra Amin (“Plaintiff”) serve upon

its counsel answers, in writing and under oath, to the following interrogatories within thirty (30)

days of service hereof.

       These interrogatories shall be deemed continuing so as to require supplemental answers if

new or different information is obtained by Plaintiff between the time the initial answers to these

interrogatories are made and the time final judgment is entered in this action.

                                         DEFINITIONS

       1.      Any/All. The terms “any” or “all” shall be construed as “any and all.”

       2.      And/Or. The terms “and” and “or” also have the meaning “and/or.”

       3.      Communication. The term “communication” includes any type of correspondence

(e.g., letters, electronic mail, instant messages, text messages, voicemail, memoranda, or any other

document in any medium used to make or record communications), and any oral conversation,

interview, discussion, negotiation, agreement, understanding, meeting or telephone conversation,

as well as every kind of written or graphic communication.
  Case 5:21-cv-00056-LGW-BWC Document 136-111 Filed 12/19/23 Page 3 of 7




       4.      Complaint. The term “Complaint” means the Complaint filed by Plaintiff on

September 9, 2021 to commence this action.

       5.      Defendant. The term “Defendant” means NBCU including without limitation its

agents, attorneys, employees, and representatives.

       6.      Document. The term “document” means any and every kind of printed, typed,

recorded, written, graphic or photographic matter (including audiotape and/or videotape

recordings), however printed, produced, reproduced, coded, or stored (including in electronic or

digitized form), of any kind or description, whether sent or received or not, including originals,

copies, reproductions, facsimiles, and drafts, regardless of their author or origin, however

denominated. A draft or non-identical copy is a separate document for purposes of these requests.

       7.      Documents sufficient to show or Documents sufficient to identify. The phrases

“documents sufficient to show” or “documents sufficient to identify” mean that you are to produce

documents sufficient to establish the subject of the document request and does not necessarily

mean all documents relating to such a request.

       8.      ICDC. The term “ICDC” refers to the Irwin County Detention Center.

       9.      News Reports. The term “News Reports” refers to the five news reports alleged

to be defamatory, as identified by Plaintiff in Paragraphs 76–81 of the Complaint.

       10.     Person. The term “person” means all individuals and entities.

       11.     Statement. The term “statement” means any written statement signed or otherwise

adopted or approved by the person making it, or a stenographic, mechanical, electrical, electronic,

or other recording, or a transcription thereof, which is a substantially verbatim recital of an oral

statement by the person making it and contemporaneously recorded.
   Case 5:21-cv-00056-LGW-BWC Document 136-111 Filed 12/19/23 Page 4 of 7




       12.     This Action and This Litigation. The terms “this action” and “this litigation”

mean the action captioned on the first page of these requests for production.

       13.     You/Your. The terms “you” and “your” mean Plaintiff Mahendra Admin and any

agents, attorneys, representatives, or other persons or entities acting for on behalf of Plaintiff or in

concert with Plaintiff. When documents are requested, such requests include information or

materials in the possession, custody, or control of your agents, attorneys, representatives,

employees, or other persons acting on your behalf.

                                         INSTRUCTIONS

       1.      “Describe” or “identify,” when used with reference to an individual, means to state

the individual’s name and present or, if that is not known, last known address, telephone number,

email address, and occupation and employer.

       2.      “Describe” or “identify,” when used with reference to a document, means to state

the name or title of the document, the type of document (e.g., letter, memorandum, chart, email

message, etc.), its date, the person(s) who authored it, the person(s) who signed it, the person(s) to

whom it was addressed, the person(s) to whom it was sent, its present location and its present

custodian. If any such document was, but is no longer, in your possession or subject to your control,

state what disposition was made of it and explain the circumstances surrounding such disposition,

and state the date or approximate date thereof.

       3.      “Describe” or “identify,” when used with reference to any non-written

communication, means to identify the person(s) making and receiving the communication and to

state the date, manner, and place of communication and the substance of the communication.

       4.      Throughout these requests, the singular shall include the plural and the plural shall

include the singular.
   Case 5:21-cv-00056-LGW-BWC Document 136-111 Filed 12/19/23 Page 5 of 7




        5.         The following terms should be read as if they were synonymous, and each should

be taken to include the meaning of all of the others: related to, related in any manner to, concerning,

referring to, alluding to, responding to, in connection with, connected with, with respect to,

commenting on, about, regarding, announcing, explaining, discussing, showing, describing,

studying, reflecting, analyzing or constituting.

        6.         If you contend that it would be unreasonably burdensome to obtain and provide all

the information called for in response to any interrogatory, you should:

             a. set forth all information that is available without unreasonable burden; and

             b. describe with particularity the efforts made to secure any information the provision

                   of which you claim would be an unreasonable burden.

    7. If, in answering these interrogatories or any other discovery request, you encounter any

vagueness or ambiguity in construing either the interrogatory or a definition or instruction relevant

to the inquiry contained within the interrogatory, set forth the matter deemed vague or ambiguous

and set forth the construction chosen or used in answering the interrogatory.

    8. With respect to your responses to the following interrogatories, if any answer to an

interrogatory is withheld because of a claim of privilege, please state the basis for your claim of

privilege with respect to such information and the specific ground(s) on which the claim of

privilege rests.

                                       INTERROGATORIES
        1.         With regard to each News Report (or any other publication at issue in the

Complaint), identify each statement of fact that You claim is false and defamatory of You and for

which you seek damages in this action.
  Case 5:21-cv-00056-LGW-BWC Document 136-111 Filed 12/19/23 Page 6 of 7




Dated: March 18, 2022

 s/ Elizabeth A. McNamara                  s/ Cynthia L. Counts
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  Case 5:21-cv-00056-LGW-BWC Document 136-111 Filed 12/19/23 Page 7 of 7




                               CERTIFICATE OF SERVICE

       The undersigned certifies that on the 18th day of March, 2022, a true and correct copy of

the foregoing document was served upon the following via email:

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